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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  TERESA TODERO, as Special                     )
  Administrator of the ESTATE OF                )
  CHARLES TODERO,                               )     Case No. 1:17-cv-1698-TWP-MJD
                                                )
                Plaintiff,                      )     Judge Tanya Walton Pratt
                                                )
                v.                              )     Magistrate Judge Mark J.
                                                )     Dinsmore
  CITY OF GREENWOOD, BRIAN                      )
  BLACKWELL, RENEE ELLIOT,                      )
  ELIZABETH LAUT, and AS-YET                    )     JURY TRIAL DEMANDED
  UNIDENTIFIED GREENWOOD POLICE                 )
  OFFICERS,                                     )
                                                )
                Defendants.




                                EXHIBIT 51
                         Medical Records of Charlie Todero

                                       [UNDER SEAL]

                         FILED MANUALLY WITH THE COURT



                                               BY:    /s/ Steve Art
                                                      One of Plaintiff’s Attorneys
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